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EXHIB|T C

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

 

 

---X

SCOTTSDALE CAPlTAL ADVlSORS CORP. and
JOHN HURRY

Plaintiffs, Index No. 154500/20]6

- against -

THE DEAL, LLC, WILLIAM MEAGHER and VERIFIED COMPLAINT
JOHN DOES l-30

Defendants.
________________________________ __-X

The plaintiffs, by their attorneys, CKR Law, LLP, complaining of the defendants herein

(each, a “Defendant”), respectfully allege:

1. At all the times hereinafter mentioned, plaintiff Scottsdale Capital Advisors Corp.
is a corporation organized and existing under the laws of the state of Arizona (“Scottsda|e”), and
maintains its principal place of business in Scottsdale, Arizona.

2. Plaintiff John Hurry (“John Hurry” and, together with Scottsdale, the “Plaintiffs”

and each a “Plaintifi”) is an individual residing in Glenbrook, Nevada.

3. Plaintiff .iohn Hurry was, through the end of 2012, an executive officer of
Scottsda]e.

4. At all the times hereinafter mentioned, Scottsdale was and still is, a securities

broker dealer engaged the business of holding and trading in securities

5. Scottsdale is and always was, a duly registered member firm of the Financial
lndustry Regulatory Authority (“FINRA”). Scottsdale is and, at all relevant times Was,
registered as a broker dealer through F]NRA in New York authorized to transact business with

customers in the state of New York.

6. Upon information and belief, at all the times hereinafter mentioned, the
defendant The Deal LLC (“The Deal”) was and still is a limited liability company duly organized

and existing under and by virtue of the laws of the State of Delaware, with its principal place of

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business in the City, County, and State of New York.

7. Neither John Hurry nor Scottsda|e are public persons, public officials, celebrities

or otherwise governmental agencies or affiliates

8. Scottsdale and Hurry operate in a highly regulated business and, false or
defamatory statements would have a severe detrimental effect on the reputations of Plaintiffs and

even on their ability to conduct and grow their business or personal lives.

9. The address posted for notices to Defendant The Deal, which can be found on the
“Terms and Conditions” page of The Deal’s website, is 14 Wall Street, New York, New York
10005. The parent company and control person of The Deal, The Street.com, lnc. is located at

the same address.

10. Upon information and belief`, The Deal is, and at all relevant times was, in the

business ofpublishing print and electronic media in the financial services sector.

l l. Arnong other publications, magazines5 blogs, webinars and related media utilized
by Defendant The Deal, The Deal at all relevant times published online or print magazines
known as “The DealF low Report” (“DealFlow”) and “The Deal Pipeline” (“Bip§l_i_n_§”) which
tend to focus on the small cap and micro~cap segments of the securities and financial services
industry. The Deal would then release and distribute these articles through various mediums

and affiliates, including._ without limitation, TheStreet.com.

12. Upon information and belief, Defendant The Deal compensates its writers and
receives financial benefit from articles that are published from both subscriptions and advertising

revenues as well as, possibly, other sources of revenues_

l3. Upon information and belief, at all the times hereinafter inentioned, DealfFlow
and Pipeline was published or disseminated daily or weekly except Sunclay, and are disseminated

primarily through emails and Defendant’s websites.

14. Dealflow and Pipeline enjoyed a large sale and circulation to the public in the

City and State of New Yorl< and elsewhere in the United States.

15. ln particular, Dealflow and Pipeline enjoy large sale and circulation to entities and

persons in the financial services industry throughout the world and, more particularly, the

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micro-cap and small cap market sector of the industry upon which Scottsdale and Hurry conduct

business

16. Upon information and belief, at all the times hereinafter mentioned, all or some of
the individual Defendants were and still are residents of the State of New York or conduct

business in New York or were present in New York at relevant times

l7. Upon information and belief, at all the times hereinafter mentioned, the Defendant
Bill Meagher (“Meagher”) was a writer who wrote articles that were published in Dealflow or
Pipeline or other mediums operated by or for The Dea| or published or distributed by The Deal
and, Defendant Meagher received compensation for such services Upon information and belief
from other law suits against him, Defendant Meagher maintains a residence in the State of
Caiifornia but regularly writes for and is published through, The Deal and The Street.com which

are both located in New York, New York, with dissemination throughout the world.

18. Upon information and belief`, Defendants John Doe l-lO were persons who had
supervisory control or edited or disseminated the defamatory articles published by The Deal with

knowledge or notice oftheir falsehood.

l9. Upon information and belief, Defendants John Doe ll-20 were persons who

provided false information to The Deal, Meagher or other Defendants.

20. Based on statements made by Defendants in their articles quoting a “source”
within the FINRA or government agencies who provided information, .lohn Does 21-30 are
persons employed by or who received confidential information from, FINRA or any government
agency with respect to Plaintiffs who are private persons and, made false statements to The Deal,

Meagher or other Defendants in violation of their duty of care or terms of employment

2]. Defendants, as with all media outlets, enjoy and benefit from “sensationalism”.
One particular subject that the Defendants have enjoyed publishing, disseminating and
re-posting, involves a regulatory action in 2013 by the Securities & Exchange Commission (the
“M”) as against certain foreign shareholders of a company known as Biozoom. Certain of

these foreign shareholders held accounts at Scottsdale and cleared through its clearing firm.

22. On May 28, 20|5, the Defendant The Deal published and circulated in Pipeline
and possibly other online, electronic, email or print mediums, and, upon information and belief,

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the individual defendants participated in the preparation and publication of a false, defamatory,
malicious, and libelous article of and concerning the Plaintiffs (the “May 2015 Defamatory

Article”) which article contains inter alia the following matter, to wit, statements that:

“Scottsdale provided those investors with services that were nor available to other

Scottsdale clients, a source told The Deal...” [emphasr`s added]; and

“Typical clients paid 4% per transaction or 4.5% if their transactions were cleared
through Alpine. Longtime clients who did a heavy volume of business might
occasionally have received discount of one percentage point. But Biozoom clients

paidjust 2%.”; and

“A standing Scottsdale policy only allowed clients to wire funds from their accounts
to banks in the U.S. or to institutions in the country where they lived. But the person
said that Biozoom shareholders were allowed to send funds to Cyprus, Switzerland,
Panama, and Belize despite the fact that all of them lived in Argentina and had signed

documents agreeing to abide by Scottsdale wire policy.”

23. The above statements are patently false, misleading and/or paint, or are
maliciously intended to paint, Plaintiffs in a bad light for cooperating with a regulatory

investigation against third parties

24. The above statements purport to “identify a source"' which implied that said
source is Within FINRA or government regulatory agencies that have discussed confidential
information involving Plaintiffs, however, the source, if any in actuality existed, did not have
“inside” information or the correct facts and, the identity of such sources would not be protected
by the NYS “Shie|d” laws Moreover, Defendants could have easily verified that said facts were

patently not accurate

25. Defendants also acted in bad faith in failing to verify their facts because,
presuming they did have a source within a regulatory agency that purported to have knowledge,
they knew or should have easily known that enforcement arms do not jeopardize their cases by
publicizing information and, Defendants knew or should have known that said information was
being provided in bad faith, prematurely prior to any investigation and that no regulator bound

by secrecy laws would provide said information but for an intent to “sway” the public eye and

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aid in an enforcement action.

26. Upon information and belief, the source may have been from an overzealous
agent within FINRA, a regulatory agency, that merely conspired and “used” Defendants to aid in
creating sensationalism and to aid in an enforcement action which, in the end, never

materialized.

27. Nonetheless, Defendants, who are knowledgeable of the securities industry, could
easily have ascertained that the items published were either false, or were exaggerated so as to

paint Plaintiffs in a bad light.

28. When printing the May 2015 Defamatory Article , the Defendants did so with
malice and, at that point, information was already available indicating that no enforcement
action had been taken as against Scottsdale. The Defendants have previously made patently
false statements relating to Defendants, and in particular, accused it of being the subject of an
FBI investigation Said statements were false and, in fact, Defendants have no “source” within

the FBI that would provide them with confidential information relating to an investigation.

29. Specifically, in Pipeline articles dated as of March 20, 2014 (see Exhibit “A”) and
April 16, 2014 (See, Exhibit “B”) (collectively, the “Earlier Articles"`), Defendants repeatedly
made false statements that “Scottsdale” was under FBl investigation Said statements were and

are false.

30. Defendants were notified by Plaintiffs prior to publication of the May 2015
Defamatory Article that the statements in the Earlier Articles about an FBl investigation of
Scottsdale or its principals was false and could cause irreparable harm and injury in a regulated
environment in fact, it turns out, that the FBl had never made such statements and would not,

as a matter general policy, make such a statement

31. Moreover, it turns out, that no enforcement actions were taken against Scottsdale
for the purported “evils” that Defendants reiterated in their May 2015 Defamatogj Article, any of
which, if true, would have resulted in FINRA or SEC sanctions and Defendants, being proficient

in the US Regulatory environment are aware of the same.

32. Indeed when trying to verify its information, Defendants noted that that the FBI

did not confirm any kind of “Irrvestigation” relating to Scottsdale or its principals Nonetheless,

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Defendants did not post a retraction or remove the false information and continued and currently

continue to disseminate and publish said statements in articles

33. Moreover, by the time of the l\/lay 2015 Defamatory Article, Defendants had the
complete benefit of time and hindsight and saw that none of their earlier statements were verified
by enforcement activity afterwards For example, there was no FBI investigation Neither the
SEC nor FlNRA sanctioned Mr. Hurry or Scottsdale for the alleged bad acts mentioned in said
articles and, had there been any truth to them the first time around in 2013, these agencies
during their annual and other reviews, would have surely fined or sanctioned Defendants

resulting in public disclosure.

34. lnstead, Defendants simply rehashed two-year old unverified information that
they knew was questionable, without giving it any thought or logic. i\/leanwhile, it was patently

obvious to the world that these older "sources” had misinformed them.

35. Defendants also made other statements in the Earlier Articles intended to paint
Plaintiffs in a negative light, including that Scottsdale and its clearing firm Alpine Securities,
lnc. were prohibited from "‘destroying” certain records in connection with an investigation over
clients that held accounts at Scottsdale (among other broker dealers). Meanwhile, said
statements are misleading in that all broker dealers and regulated FINRA member firms are
required to always keep documents and files for requisite time periods as a matter of due course

anyhow.

36. Despite learning of the truth, Defendants continued to disseminate and publish on

their electronic media said earlier articles

37. Upon information and belief, at the time of the aforesaid publications the
Defendants were acting with actual malice in that the defendants knew that the articles and
matters contained therein concerning the plaintiffs so published, were false and untrue, or were

published with reckless and wanton disregard of whether they were false and untrue.

38. in addition, to the extent that Defendants purported to “site sources” within
FlNRA that provided them with information, Defendants The Deal and l\/leagher knew or should
have known, that FINRA employees may not discuss private matters relating to its private

members

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39. Upon information and belief, FlNRA itself denied that the FBl was investigating
Scottsdale or Hurry themselves Moreover, FlNRA documents which are readily ascertainable
and obtainable, would readily show that they received no information relating to an FBl

investigation with respect to Plaintiffs themselves

40. As a result of the publications and the acts of the Defendants in connection
therewith, the Plaintiffs have been held up to public contempt, ridicule, disgrace, and prejudice;
have had difficulty conducting business opening and operating accounts have suffered great
mental pain and anguish; and have been irreparably injured in their good names business
reputation, and social standing and, have lost the esteem and respect of their friends

acquaintances business associates and of the public generally,

41. That by reason of the foregoing, the plaintiff has suffered damages in an amount

to be determined upon the trial of this action.

42. The amount of damages sought in this action exceeds the jurisdictional limits of

all lower courts which would otherwise havejurisdiction.

WHEREFORE, Plaintiffs demand judgment against Defendants jointly and severally in
an amount to be determined upon the trial of this action, together with the costs and

disbursements of this action.

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WHEREFORE, Plaintiffs demand declaratoryjudgment against Defendants to remove, or
edit all defamatory statements to the extent the same continue to be published or disseminated on

their websites, via email or other publications that they operate.

Dated: New York, New York
September 7, 2016

CKR LAW LLP

By: /s/Rorr Levy

Atlomeys for Plaintiffs Scotlsdale Capr'!crl
Advisors Corp. and John Hurry

1330 Avenue ofthe Americas

14“1 Floor

New York, NY 10019

(p) 212-400-7300

(i) 212-400-8200

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NOTARY PUBLI(`

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SEC requests default iudgment in $34!\/1 Biozoom oump-and-dump case By Bi|l Nleagher Updated 04:10
PlVl, lVlar-ZO-2014 ET

The Securities and Exchange Commission plans to request a defaultjudgment against the 10
Argentine residents who have been named as defendants in the 334 million Biozoom lnc. pump-
and-dump case alter two law firms representing the Argentines asked to withdraw from the case.

The SEC filed a letter Tuesday, March 18, with Judge Naomi Buchwald in the U.S. District
Court in Manhattan, stating that it planned to request thejudgment because the defendants bad
failed to respond to the lawsuit by court ordered deadlines

Four days earlier, attorney Marc Agnifilo had informed the court that his firm. New York-based
Brafman & Associates PC, would withdraw as counsel to the Argentines.

Brafman is the second firm that has represented the group charged with selling 20.3 million
shares of Biozoom without proper registration ln September, McLaughlin & Stern LLP also
withdrew.

Brafman is a high-profile criminal defense firm that has counted crime boss Sa|vatore "Sammy
the Bull" Gravano, rapper Sean Combs and fortner lnterrtational t\/lonetary Fund chief
Dominique Strauss-Kahn among its clients.

Agnifilo declined to comment on the firm's withdrawal from the Biozoom case. In his letter to
the court, he said that Brafman had been told by the Argentines that it would be retained, but that
a retainer agreement was never si gned.

Those named as defendants are Magdalena Tave|la, Andres Horacio Ficicchia, Gonzalo Garcia
Blaya. Lucia l\/lariana Hernando, Cecilia De Lorenzo, Adriana Rosa Bagattin, Daniela Patricia
Goldman, Mariano Pablo Ferrari, Mariano Graciarena and Fernando Loureyro.

None of them responded to e»mails requesting comment

A person familiar with the case said that Buenos Aires-based lawyer Juan Ignacio Prada has been
seeking representation for the group. Prada did not respond to a request for comment

Patrick Bryan, assistant chieflitigation counsel for the SEC, said the commission will file
paperwork to pursue the defaultjudgment in the next month. He declined to comment further.

The SEC filed the lawsuit last Ju|y, claiming that the Argentines had opened brokerage accounts
at Arizona-based Scottsdale Capital Advisors and New York-based Legend Securities Ine.,
depositing shares and providing paperwork stating that the stock was purchased from
Shareholders in Entertainment At'ts lnc., the registered shell company that had merged with
Biozoom to bring it public in February 2013.

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Biozoom, which lists Kassel, Germany1 as its headquarters claims to produce a "biofeedback
device" that consumers can use to monitor and analyze data related to their health.

ln its complaint1 the SEC alleges that the stock purchase agreement documents were fatse and
that the Entertainment Art investors had sold all of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members
ofthe group were not the real investors. but instead were simply nominees. None ofthe
Argentines listed investor as their profession. and none of them deposited or traded in any other
stocks. according to a person familiar with the investigation

The Argentine group is said to have included retired teachers and the owner ofa delicatessen.

Scottsdale Advisors is said to have given the Biozoom shareholders perks that were not available
to other clients They submitted trade orders by e-mail or instant messaging, which the firm did
not allow for most clients. The Biozoom shareholders were also charged commissions ofjust
2%, while other clients paid 4% to 4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in
Cyprus, Switzerland, Panama and Belize, despite a standing policy at Scottsdale that usually only
allows clients to wire funds to U.S. banks or to institutions in the country where they live.

The SEC halted trading in Biozoom on June 25 and, in July. asked the court for an emergency
order freezing the defendants assets. That kept $l 6 million in stock sale proceeds in the U.S.
Another $17 million had already been wired overseas prior to the freeze.

The SEC alleges says that. from March 2013 through June, the Argentines received 20 million
shares of Biozoom, which was about one-third ofthe company's stock. ln l\/layq they sold 14
million shares reaping almost $34 million.

The shares were sold into a promotion that started l\/lay 16, as the company issued a series of
press releases, and continued into June. Biozoom's share price tripled, reaching an intraday high
of $4.50, implying a valuation ofS421.5 million.

As of.lune 30, Biozoom owned assets valued at Only $l .05 million, according to its last filing
with the SEC. In the quarter ending June 30, the company had no revenue and a loss of
$328,671.

When the stock was halted. the shares were at $3.45. When trading resumed, they plunged to 13
cents, cutting more than $300 million from Biozoom's market value.

The promotion was unusual in the form it took. lt included advertising in mainstream media
outlets, including the New York Times and USA Today. In June, ads that took up most ofa full
page were placed in those newspapers that ostensibly promoted a London-based publication
called Global Financial lnsights. But, while the ads included subscription information and other

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details about the publication, most oftheir space was taken up with the magazine's
recommendation of Biozoom stock.

Both ads featured a headline that read, "lnnovative Technology Com pany lnvents Real ’Star
Trek‘ l\/ledical Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also featured prominently in an advertisement for a
newsletter called TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which
was distributed May 16. the day that Biozoom began trading at $l . l 0. The report valued the
shares at $l 0.30.

The FBI and the Financiai industry Reguiatory Authority have been investigating the
involvement of Scottsdale and Alpine Securities, its Salt Lake City-based clearing firm, in
connection with the Biozoom stock sales since May, according to a person with knowledge of
the probe.

The firms have provided securities officials with documents pertaining to the Biozoom trades
and shareholders, including those sought under an unusual request from the SEC and Finra that
employees turn over ali personal notes regarding Biozoom. Scottsdale and Alpine were also
forbidden from destroying any Biozoom records

Finra has scheduled an audit of Scottsdaie at the end March_, according to a person familiar with
the investigation

Representatives of the SEC, Finra, Scottsdale and Alpine declined to comment An FB|
spokesman said the agency will neither confirm nor deny the existence of an investigation

Read more: http://pipe|ine.thedea|.com/tdd/ViewArtic|e.d|?id=10007955861#ix222wb0r)cva

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Finra focusing on money~lat ering violations - Deal Pipeline Page l of 5

 

Pln§§dline

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Law

Share Reprint Save to lilly Articles

Finra focusing on money-laundering violations

By Biil Meagher Updated 07:00 Piili, Apr-16-2014 ET

On ivtarch 10. the staff at Scotisdale Capiial Advisors was slanted when their receptionist called out into the
office, "Flnra is here!"

While representatives from the i-'inancial industry Regulatory Authority were expected at the end of the month
for a scheduled two-week exam. this visit had nothing to do with that appointment Rather, the investigators
asked for files relating to overseas clients and omnibus accounis. which are owned in the names of other
brokerage frrms, according to a person familiar with the raid.

That person said that a group of Finra investigators hauled away copies of documents regarding omnibus
accounts at Scottsdale that included those owned in the names of Belize-based Titan international Securiiies
lnc. and Cayman islands-based Ca|edonian G|obal Financial Services lnc.l and a Cayman account linked to
Scottsda|e owner John Hurry.

Geralti Fiussellol a partner with the law firm of Sidley Austln LLP who represents Scottsdale. declined to
comment Representatives of Titan international did not return a phone call seeking comment

Ca|edonian Global CEO Kobi Dorenbush said his firm had not been contacted by any U.S. regulators

The action at Scottsdale's Arizona ofncee came a month after brokerage firm Brown Brothers Harriman &
§ was fined a record $8 million by Finra in a settlement over alleged violations of ami-money laundering
regulations Finra also levied a 325.000 fine and a one-month suspension from the securities industry against
Harold Cravrford, the New York-based iirm’s former anti-money-laundering compliance officer.

Finra said lhat, from January 2009 to June 2013, Brown Brothers executed trades or delivered securities in
transactions involving al least 6 billion penny stock shares. with many of those transactions made through
omnibus accounts on behalf of clients that the firm could not identify. Some of the $845 million in proceeds
were allegedly wired to Switzerland, Guernsey and Jersey. countries with strong bank secrecy laws. Those
locations and transactions should have raised red iiags with Brown Brothers and prompted the firm to die
suspicious activity reports under federal anli-money-laundering regulations according to Finra.

Brown Broihers agreed to the settlement without admitting or denying Finra‘s findings The frrm also issued a
statement saying it had changed its procedures for handling low-priced securities and for surveillance of

 

http://pipeiine.thedeal.com/tddeiewArticie.di?id=10007965262

 

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Finra focusing on money-lai sring violations - Deal Pipeline Page 2 of 5

activity in low-priced securities to "mitigate a possible recurrence of this matter." Brown Brothers also said that
the activity covered by the settlement represented a small part of its investor services business and did not
involve its investment management or private banking business

Some violations of anti-money-laundering regulations have been closely linked with stock manipulation and
pump-and-dumps of microcap stocks both of which have been identified as priority areas for enforcement

action by Finra and the Securities and Exchange Commission.

Finra's action against Brown Brothers has gotten the attention of broker-dealers anti-money laundering
consultants and lawyers for two reasons "l”he tine, the largest ever handed down for an anti-money-laundering
violation by Finra, has sen/ed notice that the regulator is serious about firms cleaning up their ami-money-
laundering programs And the fact that Crawford was fined for the company's alleged failure to create an
effective anti-money-laundering program is seen by some as unfair.

"Finra has served notice that there is personal responsibility for a company failing to implement an adequate
program," said Kevin Petrasicl a partner in the Washington ofnce of law firm Paul Hastings LLP, whose
practice includes anti-money-laundering litigation

"tt is a no-win situation and a bit draconian," he said. "A|VlL compliance officers are in a barbell on this They
want to put a program in place, and Finra expects that program to workl but sometimes the senior
management doesn't want to pay for the resources so they choose not to implement the programl and the
AML officers are in the middle between management and the regulators Who wants that job?"

in Crawford‘s case. he went to Brown Brothers' management and proposed changes that would affect the anti-
money-iaundering program, according to documents that Finra staff filed in their administrative action. |n
November 2011, Crawford and other Brown Brothers compliance staff are said to have recommended that the
firm stop executing trades for penny stocks below a certain threshold value. They are also said to have
recommended that the Erm require omnibus account clients that wished to offer brokerage services to their
own customers to set up a disclosed subaccounts.

Brown Brothers did not change how it handled penny stocks until fast Junel according to Finra.

Omnibus accounts are often held in the name of foreign financial intermediaries who, in turn, are handling
stocks for clients that might not be known to the U.S. broker-dealerl Finra has told broker-dealers that it is
important to know who are the actual investors behind the omnibus accounts

Anti-money laundering regulations are designed to keep money made in illegal activities from being made to
look as if it is the product of legitimate endeavors erh Finral they center on Ru|e 3310. lt requires each
brokerage firm to implement a compliance plan that is approved by a member of senior management in writing.
The plan must be designed to detect and assure the reporting of suspicious transactions The plan must also
comply with the Bank Secrecy Act and include an annuai independent compliance test Firms are also required
to identity to Finra an individual or group responsible for the day-to-day operation of the anti~money-|aundering
program.

Each year in January, Finra issues its Regulatory and Examination Priorities Letter which details issues where
the regulator plans to devote resources ln 2012, the letter named microcap stock fraud as an enforcement
priority.

"As a part of their anti-money laundering responsibilities member firms are obligated to monitor suspicious
activity and to file Suspicious Activity Reports where warranted." the 2012 letter stated.

Last year, efforts against money laundering received their own paragraph in the letter.

"Finra examiners continue to focus on AML compliance, particularly at firms with higher-risk business models
due to their clients products and service mix or location in which they operate."

 

 

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This year. Finra doubted the space in its letter devoted to efforts against money launderingl The regulator said
it planned to focus on institutional business as well as a trend of broker-dealers not pursing the identities of
some shareholders in transactions disposing of large volumes of low-priced stocks

“t think what is going on is obvious." said a former Finra official who now consults on anti-money-laundering
issues "Finra feels like these regulations have been on the books for what, 11. 12 years? The firms have had a
chance to put AML programs in place. hire good peopie. and still there are problems So Finra lumps the fines
to get their attention. They are saying, 'We are serious and unless you take care of this it is going to cost you
some real money."'

Paul Tyrrell, of counsel in the Boston ofhce of law firm Sidley Austin LLP. said that some in the brokerage
industry have been raitled by Finra's targeting of individuals for enforcement of anti-money-laundering rulesl

"Where is the line being drawn?" he said. "l don't know and nobody else does either. What we are Seeing in the
[anti-money-|aundering] exams is that Finra is being more robust, running it down to the end. They are asking
what you did. and when you did itl and people are worried that Finra is now looking ai AML officers branch
managers and even individual representatives."

For exempts in ivlarch 2013, the regulator accused James Pi|lal a registered representatives of Ameriprise
Financial Services lnc.l of failing to report red flags raised by penny stock trades in 26 of his client accounts
and failing to meet face-to-face with 59 of his clients to Verify their identities before opening their accounts His
actions allegedly violated Ameriprise's anti-money-taundering procedures Finra suspended him for three
months and fined him $15,000.

Finra hied 36 anti-money-taundering actions last yearl down from 45 in 2012 and 38 in 2011. The regulator did
not make anyone available to comment for this story.

Among its actions was a $1.4 million fine against Opgenheimer Holdings lnc. last August for alleged
violations that included a failure to conduct due diligence on foreign financial intermediaries Finra claims that
from Augusl 2008 through September 2010. Oppenheimer sold 1 billion unregistered penny stock shares on
behalf of 13 clients without performing due diligence on the status of the shares The firm also allegedly failed
to probe suspicious trading by a Bahamas-based broker-dealer Oppenheimer agreed to pay the fine without
admitting or denying Finra's allegations

in December, Finra lined COR Clearing LLC of Omaha, Neb., $1 million over allegations that, for three years
beginning in 2009, the firm failed to establish and implement anti-money-|aundering policies and for a time in
2012, its anti-money-laundering program had almost collapsed COR accepted the penalty without admitting or
denying the allegations

Both COR and Oppenheimer were required to hire independent consultants to monitor and evaluate their anti-
money-laundering programs

Worid Trade Financial Corp., a San Diego-based brokerage firm. was the subject of a $250,000 line after Finra
alleged it violated anti-money-launden'ng regulations by not Setting up and enforcing supervisory procedures
From March 2009 to August 2011 , Worid Trade bought and sold 27.5 billion shares of a dozen different penny
stocks on behalf of one client. Those shares were unregistered and not eligible for an exemption from
registration requirements according to Finra. The transactions generated $61 million in proceeds for the client.
The business generated by those transactions was the lion's share of Worid Trade's business

The firm accepted the fine without admitting or denying the allegationsl

The link between anti-money-laundering regulations involving omnibus accounts and penny stock trading is a
growing topic of conversation in the brokerage industry.

 

 

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"li is what everybody is talking about, and the recent Brown Brothers bust has really made ii obvious that's
what Finra is worried about as well," said one brokerage iirm executive

The connection was brought into sharp focus by the SEC's recent lawsuit and emergency asset freeze order
against John lEiabikianl a Canadian national who the commission claims is behind the now defunct stock
promoter Awesome Penny Siocl<s.

At the SEC‘s request, the federal court in Manhattan froze assets belonging to Babikian including two homes in
Los Angeles. farm and vineyard land in Oregon and a fractional interest in a corporate jet

|n its lawsuit filed last month, the SEC alleged that Babikian sold 1.3 million shares of coal mining company
America West Resources lnc. orr Feb_ 23. 2012. in 90 minutes, after first promoting the stock to 700,000
subscribers to Awesome Penny Stocks' e~mail newsletters l-le allegedly made $1.9 million, selling the shares
through an omnibus account with Swiss bank Frankfurter Bankgeselischaft (Schweiz) AG maintained by Brown
Brothers.

ln a set of Finra internal records from 2012 and 2013 obtained by The Deal, the regulator said it has initiated
probes of suspicious trading activity involving offshore entities tied to pump and dumps in Tororr lnc., U.S.
Highland |nc.. Bioilamex Corp.l Goff Corg. and lvlarine Drive Nlobile Corp. Those reports were furnished to
the SEC.

The offshore brokerage tirms cited by Finra in those reports include Ca|edonian Global. Caledonlan Bank Ltd.,
Ca|edonian Securities Ltd., Clearwater Securities lnc.. Legacy Global Markets SA, Argus Stocl<brokers Ltd.,
CBH Compagnie Bancaire Helvetique SA, Bank Gutenberg AG, Sherman Capita|, Rigi Capital and Verdmont
Capital SA.

The regulator obtained trading records regarding the omnibus accounts from Scottsdale Capital, Brown
Brothers, Vertica| Grougl Knight Execution and Clearing Services LLC, OC Securities |nc. and Ascendiant
Capital Nlarkets LLC, according to the Finra records

Scottsdaie is already the subject of investigations by Finra, the SEC and the FB| pertaining to an unusual $34
million pump and dump involving a German company known as Biozoom lnc.l according to a person familiar
with the situation. Scottsdale's clearing agency and related entity, Salt Lake City-based Alpine Securitles is
also a part of those probes.

The hrms have provided securities officials with documents pertaining to the Biozoom trades and shareholdersl
including those sought under a request from the SEC and Finra that employees turn over all personal notes
regarding Biozoom. Scottsdale and Alpine were also forbidden from destroying any Biozoom records

The SEC filed a lawsuit last Julyl claiming that a group of 10 Argentine nationals had opened brokerage
accounts at Scottsda|e and New Yorl<-based Legend Securities lnc., depositing shares and providing
papenivork stating that the Biozoom stock was purchased from shareholders in Entertainment Art inc.. the
registered shell company that had merged with Biozoom to bring it public in February 2013.

Biozooml which lists Kassel, Germany, as its headquarters claims to produce a "biofeedback device“ that
consumers can use to monitor and analyze data related to their health.

The SEC alleges that the stock purchase agreement documents were false and that the Entertainment Art
investors had sold all of their stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members of the group
were not the real investors but instead were simply nominees. None of the Argentines listed investor as their
profession, and none of them deposited or traded in any other stocksl according to a person familiar with the
investigation The Argentine group is said to have included retired teachers and the owner of a delicatessen.

 

 

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Scottsdale Advisors is said to have given the Biozoom shareholders parks that were not available to other
clients They submitted trade orders by e-mail or instant messaging, which the firm did not allow for most
clients. The Biozoom shareholders were also charged commissions ofjust 2%, while other clients paid 4% to
4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in Cyprus,
Switzeriand, Panama and Be|ize, despite a standing anti-money-laundering policy at Scotisda|e that usually
only allows clients to wire funds to U.S. banks or to institutions in the country where they |ive.

The SEC halted trading in Biozoom on June 25 andy in Juiy, asked the court for an emergency order freezing
the defendantsl assetsl That kept $16 million in stock sale proceeds in the U.S. Another $17 million had
already been wired overseas prior to the freeze

The SEC alleges says that. from l\rlarch 2013 through June, the Argentines received 20 million shares of
Biozooml which was about one-third of the company's stock. ln i\/iay. they sold 14 million shares reaping
almost $34 miliion.

The shares were sold into a promotion that started |Vlay 16. as the company issued a series of press releases,
and continued into June. Biozoom's share price tripled, reaching an intraday high of $4.50, implying a valuation
of $421.5 million.

As of June 30. Biozoom owned assets valued at only $1.05 million, according to its last iiling with the SEC. in
the quarter ending June 30. the company had no revenue and a loss of $328,671.

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13 cents. cutting
more than $300 million from Biozoom's market value.

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